Case 2:20-cv-01609-CCC-MF Document 7 Filed 03/20/20 Page 1 of 1 PagelD: 121

Franzblau Dratch, P.C. OF COUNSEL

Richard E. Mischel*

 

8.M. Chris Franzblau Attorneys At Law Allen B Pearl
sepa ee Plaza One Sanford F. Young*
Brian M. Dratch* 354 Eisenhower Parkway Adam D. Dratch*
Shay Shailesh Deshpande* P.O. Box 472
Livingston, New Jersey 07039-0472 *NJ&NY BAR
Main Office (973) 992-3700
aaa Broadvenr Suite 1800 Telecopier (973) 992-7945 or (973) 994-0130
New York, NY 10279 ; ;
(212) 571-1808 email: SBRATCH@njcounsel.com
Please reply to NJ Office
Writer’s Direct Dial: (973) 533-7212
March 20, 2020
VIA ECF

Hon. Claire C. Cecchi, U.S.D.J.
Martin Luther King/ Federal Building
U.S. Courthouse

50 Walnut Street

Newark, NJ 07102

Re: Chaudhari v Parker
Case No. 2:20-cv-01609

Dear Judge Cecchi:

This office represents the plaintiff Saket Chaudhari in the above matter.
Presently pending is a motion to dismiss.

Iam respectfully requesting that the motion be returnable on April 20,
2020 and that plaintiff's opposition will be filed by April 6, 2020 and the
defendant’s reply by April 13, 2020.

I have the consent of my adversary for this request.

Régpectfully yours,

Stephen N. Dratch

SND:cat
cc: All Counsel via ECF

00193101 - 1
